
LOTTINGER, Judge.
This is a suit for expropriation filed by Louisiana Power and Light Company against Sorrento Dome Land Corporation, et al. Since the inception of this suit same has been consolidated with two other suits, namely Louisiana Power &amp; Light Company v. United Lands Company, Inc., and Louisiana Power &amp; Light Company v. Mercedes B. de Latour, wife of and A. P. Schiro, et al., 218 So.2d 905, 913.
Our reasons for the judgment rendered herein are fully set forth in judgment this day rendered in the matter entitled Louisiana Power &amp; Light Company v. United Lands Company, Inc., and for said reasons, the judgment of the Lower Court will be affirmed. All costs of this appeal to be paid by defendants.
Judgment affirmed.
